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                    IN THE UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF NEW YORK

 IN RE:                                         §     CHAPTER 7
                                                §
 ORLY GENGER,                                   §     CASE NO. 19-13895-jlg
                                                §
                                                §
        Debtor.                                 §


          NOTICE OF MOTION FOR ORDER CONFIRMING THAT
  AUTOMATIC STAY DOES NOT LIMIT ABILITY OF NEW YORK STATE COURT
               TO EXONERATE UNDERTAKING FOR TRO

       PLEASE TAKE NOTICE that TPR Investment Associates, Inc. (“Movant”), by and

through its undersigned counsel, will move (the “Motion”), on a date to be scheduled by the Court,

before the Hon. Judge James L. Garrity Jr., United States Bankruptcy Judge, in the United States

Bankruptcy Court for the Southern District of New York, Courtroom 601, One Bowling Green,

New York, New York 10004 or as soon thereafter as counsel can be heard, for entry of an order

(a) pursuant to sections 105(a) and 362(j) of chapter 11 of title 11 of the U.S. Code, §§ 101-1532

et seq. (the “Bankruptcy Code”) confirming that the automatic stay of 11 U.S.C. § 362(a) does not

limit the ability of the New York County Supreme Court to exonerate the Undertaking for

Temporary Restraining Order filed by the debtor, Orly Genger, in Genger v. Genger, Index No.

109749/2009 (Sup. Ct., N.Y. Cnty.)

       PLEASE TAKE FURTHER NOTICE that a copy of the Motion is available for inspection

during normal business hours at the office of the Clerk of the U.S. Bankruptcy Court for the

Southern District of New York located at One Bowling Green, New York, New York 10004, or

may be obtained by contacting the undersigned counsel.

       PLEASE TAKE FURTHER NOTICE that responses and objections, if any, to the Motion

and the proposed order must be made in writing, conformed to the Bankruptcy Rules and the Local
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Bankruptcy Rules for the Bankruptcy Court and be filed with the Bankruptcy Court electronically

in accordance with General Order M-399 (a copy of which can be found at www.nysb.uscourts.gov,

the official website for the U.S. Bankruptcy Court for the Southern District of New York), by

registered users of the Bankruptcy Court’s case filing system and, by all other parties in interest,

in Portable Document Format (PDF), Microsoft Word, or any other word processing format (with

a hard copy delivered directly to Chambers) and shall be served upon: (i) counsel to Movant,

Thomas A. Pitta, Esq., 120 Broadway, 32nd Floor, New York, New York 10271; (ii) Deborah J.

Piazza, Chapter 7 Trustee, Attn: Rocco A. Cavaliere, Esq., Tarter Krinsky & Drogin LLP, 1350

Broadway, 11th Floor, New York, New York 10018; and (iii) all parties who have filed a notice

of appearance and request for service of documents.


       Dated: July 30, 2020                           Respectfully submitted,

                                                         s/Thomas A. Pitta
                                                      Thomas A. Pitta, Esq.
                                                      John Dellaportas, Esq.
                                                      Emmet, Marvin & Martin, LLP
                                                      120 Broadway
                                                      32nd Floor
                                                      New York, New York 10271
                                                      Telephone: (212) 238-3000
                                                      Facsimile: (212) 238-3100
                                                      Counsel to Creditor
                                                      TPR Investment Associates, Inc.




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                   IN THE UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF NEW YORK

IN RE:                                     §    CHAPTER 7
                                           §
ORLY GENGER,                               §    CASE NO. 19-13895-jlg
                                           §
                                           §
       Debtor.                             §




              MOTION FOR ORDER CONFIRMING THAT
 AUTOMATIC STAY DOES NOT LIMIT ABILITY OF NEW YORK STATE COURT
              TO EXONERATE UNDERTAKING FOR TRO




                                               Thomas A. Pitta, Esq.
                                               John Dellaportas, Esq.
                                               120 Broadway
                                               New York, New York 10280
                                               Telephone: (212) 238-3000
                                               Facsimile: (212) 238-3100
                                               Counsel to Creditor
                                               TPR Investment Associates, Inc.
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TO THE HON. JAMES L. GARRITY, U.S. BANKRUPTCY JUDGE:

       COMES NOW, TPR Investment Associates, Inc. (“Movant”), a pre-petition creditor of

Orly Genger, the debtor (“Orly” or the “Debtor”) in this Chapter 7 case (“Bankruptcy Case”),

by and through its undersigned counsel and, pursuant to sections 105(a) and 362(j) of chapter 11

of title 11 of the U.S. Code, §§ 101-1532 et seq. (the “Bankruptcy Code”) files this motion (this

“Motion”) for an Order confirming that the automatic stay of 11 U.S.C. § 362(a) does not limit

the ability of the New York County Supreme Court to exonerate a $150,000 Undertaking for

Temporary Restraining Order (the “TRO Bond”) filed by the Debtor in the action entitled Genger

v. Genger, Index No. 109749/2009 (Sup. Ct., N.Y. Cnty.) (the “State Court Action”), and, in

support would respectfully show the Court as follows:

       1.      Movant is a creditor of this bankruptcy estate. See Proof of Claim 11-1. On May

18, 2020, Movant, together with Movant’s co-defendants in the State Court Action sought to

exonerate the TRO Bond posted by the Debtor, who is the plaintiff in that action. (Exh. A.) The

only effect on this estate would be that Movant would withdraw that portion of its claim seeking

recovery on the $150,000 TRO Bond, thereby increasing recovery for the remaining bankruptcy

creditors. Nevertheless, the Chapter 7 Trustee, Deborah J. Piazza (the “Trustee”), through her

counsel, Rocco Cavaliere, wrote to the state court asking that it not exonerate the TRO Bond “until

such time as the Trustee has had an opportunity to investigate this request further and seek

guidance from Bankruptcy Judge Garrity, to the extent necessary.” (Exh. B.) Thereafter, ten weeks

passed, without the Trustee seeking any such “guidance” from Your Honor. Instead, earlier this

month, the Trustee advised Movant that exoneration of the TRO Bond, and the withdrawal of

Movant’s claim, should instead “occur in connection with the claims reconciliation process in the

bankruptcy case,” at some indeterminate point in the future. (Exh. F.) In other words, the Trustee

wishes this Court to adjudicate a claim that Movant seeks to withdraw.
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       2.      If this seems like a perverse result, there is an apparent explanation. Movant is an

entity run by judgment creditor Sagi Genger (“Sagi”), who has moved to dismiss the bankruptcy

case over the objections of the Trustee.

       3.      Movant seeks clarification from this Court because last May, the Trustee advised

the state court that she was: “currently evaluating this request to determine whether this request is

a violation of the automatic stay.” (Exh. B) (emphasis added). The state court, unsurprisingly, has

chosen to await the outcome of the Trustee’s “evaluation” of the automatic stay issue, which

apparently is ongoing. To be clear, if the TRO Bond is exonerated, then the underlying collateral

would be released to whomever the rightful owner is. In other words, if the collateral is property

of the estate, exoneration would make it available to all creditors.

       4.       Respectfully, the Trustee had no good faith basis to invoke the “automatic stay” to

hold up the state court’s exoneration of the TRO Bond. As the Second Circuit has recognized,

“the automatic stay is applicable only to proceedings ‘against,’ 11 U.S.C. § 362(a)(1), the debtor.”

Koolik v. Markowitz, 40 F.3d 567, 568 (2d Cir. 1994). In the State Court Action, the Debtor, Orly,

is the plaintiff. The State Court Action is consequently not stayed.

       5.       Further, the exoneration of the TRO Bond would not reduce any asset of the estate

one iota. The TRO Bond is annexed hereto as Exhibit C. As the Court can see, it only serves to

insure the Debtor against “such damages not exceeding the amount of … $150,000 … as

Defendants may sustain by reason of said Temporary Restraining Order if the same be wrongful

and without sufficient cause.” (Exh. C.) As noted above, however, all defendants to the State

Court Action wrote to the state court last May advising it “Defendants ask that the Undertaking be

exonerated, in which event it will no longer seek damages relating to that TRO.” (Exh. A.) In

other words, upon exoneration, the only conceivable benefit to the estate of maintaining the TRO

Bond (as opposed to exonerating it) would be completely eliminated.
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       6.      The Debtor had originally obtained the Temporary Restraining Order (the “TRO”)

in the State Court Action to protect her claim for ownership over 240 disputed shares of common

stock of Movant. Specifically, the TRO enjoined Movant from “removing shares representing

…[a] 49% ownership interest in defendant [Movant’s] common stock (the ‘Shares’) from the state,

or otherwise transferring, selling, pledging, assigning, diluting, or otherwise disposing of the

Shares until a final determination regarding the ownership of the Shares is made by this Court.”

(Exh. D at 2.) The state court subsequently granted summary judgment dismissing the Debtor’s

claim to reclaim the shares, holding that the Debtor could be fully compensated by money

damages, a decision affirmed by the Appellate Division. Genger v. Genger, 147 A.D.3d 443, 443

(1st Dep’t 2017). After a trial, the state court held that the Debtor’s money damages were zero.

Genger v. Genger, 2019 WL 2393807 (N.Y. Sup. Ct. Jun. 6, 2019).

       7.      With that process complete, Movant had a clear-cut claim against the TRO Bond

for $150,000 in TRO-related damages, as Movant had expended many times that amount in legal

fees to obtain that litigation outcome. Rather than follow the unfortunate pattern in the Genger

world of litigating to excess, counsel to Movant reached out to counsel for the party who had

posted the collateral securing the TRO Bond, an entity controlled by Arie Genger, seeking to

resolve the dispute (and another, unrelated, dispute regarding a different injunction bond). On

May 4, 2020, Movant and Arie Genger executed a Confidential Settlement Agreement--a copy of

which is provided to the Court in camera (Exh. E)--resolving these two disputes. Thereafter, a

copy was provided on, a confidential basis, to the Trustee and her counsel.1




1
       Curiously, the Trustee insisted that a copy also be provided to the Kasowitz law firm, and
when Movant declined that request, counsel to the Trustee cited that fact as one of the reasons why
the Trustee would not lift her block in the State Court Action. Needless to say, we see no valid
reason why the Kasowitz firm should have access to the confidential agreement.
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       8.       We expected that a quick perusal of the Settlement Agreement would have been

sufficient to satisfy any concerns the Trustee might have as to the effect of the agreement, and

specifically the exoneration of the TRO Bond, on the estate. Instead, Movant was greeted with

months of silence, culminating in this email from Trustee’s counsel:

            In analyzing this issue, it seems that the exoneration of the bond should occur
       in connection with the claims reconciliation process in the bankruptcy case, which
       is a core bankruptcy function. As you have pointed out, [Movant] TPR’s claim has
       not yet been liquidated. The bond has been posted in connection with an action
       involving the Debtor. After the motion to dismiss is denied, we intend on, among
       other things, reviewing the proofs of claim filed by parties in interest and will be in
       a better position at that time to address your request. Finally, you have also
       indicated that the Trustee is not permitted to discuss this matter with Debtor’s
       counsel, which impacts her investigative duties and ability to make a final
       determination on whether the exoneration of the bond and release of the $150,000
       in collateral negatively impacts the bankruptcy estate. I suggest we just revisit this
       issue at a later date. Alternatively, you may wish to revamp your settlement
       agreement with Arie Genger in the 2010 action. Perhaps TPR can elect to collect
       on the bond in that action which does not concern the Debtor. May be a simple fix.
       Thanks. (Exh. F) (emphases added).

       9.       In sum, the Trustee presented Movant with two options; either (a) seek an

adjudication from this Court on its claim for TRO-related damages “in connection with the claims

reconciliation process,” or (b) “alternatively,” “revamp” its Settlement Agreement to eliminate the

need for an exoneration at all (which also would leave the claim to be adjudicated by this Court).

Respectfully, Movant chooses neither. As one Bankruptcy Court has held: “There is a marked

difference between administering ‘property of the estate’ on the one hand, and selling the trustee's

signature …, on the other. A trustee has no license to extort or racketeer …” In re Kiersz, 311

B.R. 145, 149 (Bankr. W.D.N.Y. 2004). Movant has resolved claims without need of judicial

intervention, a result strongly favored by our legal system. See In re: Cinque Terre Financial

Group Ltd., 2017 WL 4843738, at *10 (Bankr. S.D.N.Y. Oct. 24, 2017) (“Courts favor bankruptcy

settlements, because ‘they minimize costly litigation and further parties' interests in expediting the

administration of the bankruptcy estate.’”) (citations omitted).
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       10.      Instead, Movant asks this Court simply to clarify that the state court may exonerate

the TRO bond, should it choose to do so, without violating the automatic stay. This is a self-

evidently correct proposition of law. Indeed, in ten weeks’ time, the Trustee has never explained

how or why the automatic stay would apply here. Instead, she merely seeks to punish Movant for

legal positions Movant’s principal has taken in other parts of this case. As that is not a proper

exercise of her fiduciary duties, the Court’s assistance is now needed.


       Dated: July 30, 2020                           Respectfully submitted,

                                                         s/Thomas A. Pitta
                                                      Thomas A. Pitta, Esq.
                                                      John Dellaportas, Esq.
                                                      Emmet, Marvin & Martin, LLP
                                                      120 Broadway
                                                      New York, New York 10271
                                                      Telephone: (212) 238-3000
                                                      Facsimile: (212) 238-3100
                                                      Counsel to Creditor
                                                      TPR Investment Associates, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this motion has been served upon each

attorney of record and filed with the Court on this the 30th day of July 2020.


                                                             /s/ Beth Khinchuk
                                                             BETH KHINCHUK




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